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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

TYRION S. HODGES,                 )
               Plaintiff,         )                 Case No. 1:20-cv-06643
                                  )
            v.                    )                 Hon. John F. Kness
                                  )
COOK COUNTY SHERIFF THOMAS )
DART, R. PARKER, SUPT. L.         )
IRACHERA, C. ZAMFIRESCU,          )
T. RUSHER, J. HERNANDEZ,          )
J. JUDKINS, J. CRUKAJ, M.         )
SHEEHAN, E. DURAN, C. TORRES,     )
T. BEYER, N. DRACA, R. KORKUS,    )
F. RUIZOZ, M. STATLER, W. RIVERA, )
R. GARCIA, A. DUHARKIC,           )
E. VILLARREAL, E. REIERSON,       )
L. ROMAN, S. STROH, D. CONTORNO, )
J. BARAJAS, R. PASQUEL, J. PRETO, )
M. BORUS, and M. KOEDYKER,        )
                  Defendants.     )

                               CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that the following documents were sent via
email to Tyrion Hodges at email address: tshodges97@gmail.com on February 3, 2023:
           •   Defendants’ Answers to Plaintiff’s Requests for Production.
           •   Defendants Interrogatories to Plaintiff, Tyrion Hodges
           •   Defendants Requests to Produce to Plaintiff, Tyrion Hodges
           •   Defendants’ filed Answer
           •   HIPAA and Confidentiality Protective Orders entered by the Court
           •   Defendants’ Requests to Admit to Plaintiff
           •   Defendants’ Motion to Deem Requests to Admit as Admitted and Exhibits to same.
           •   Reply in Support of Motion to Deem Requests to Admit as Admitted and Exhibits
               to same.
                                                    /s/Zachary Stillman__________
                                                    Zachary Stillman, One of the
                                                    Attorneys for Defendants


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